                                                                     (Official Form 1) (10/05)
                                                                      FORM B1
                                                                                                                    United States Bankruptcy Court                                                                          Voluntary Petition
                                                                                                                           District of Oregon
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Dempsey, Michael Thomas

                                                                      All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                                      (include married, maiden, and trade names):




                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than               Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than
                                                                      one, state all):   4804                                                                          one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                                 Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      2018 Salem Ave. SE
                                                                      Albany, OR
                                                                                                                                                ZIPCODE                                                                                       ZIPCODE
                                                                                                                                                97321
                                                                      County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
                                                                      Linn
                                                                      Mailing Address of Debtor (if different from street address)                                     Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                ZIPCODE                                                                                       ZIPCODE
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                                                                      Location of Principal Assets of Business Debtor (if different from street address above):


                                                                                                                                                                                                                                              ZIPCODE


                                                                      Type of Debtor (Form of Organization)                     Nature of Business                                           Chapter of Bankruptcy Code Under Which
                                                                                (Check one box.)                            (Check all applicable boxes.)                                       the Petition is Filed (Check one box)

                                                                      üIndividual (includes Joint Debtors)                Health Care Business                      ü Chapter 7                   Chapter 11            Chapter 15 Petition for Recognition
                                                                         Corporation (includes LLC and LLP)               Single Asset Real Estate as defined              Chapter 9              Chapter 12            of a Foreign Main Proceeding
                                                                         Partnership                                      in 11 U.S.C. § 101(51B)                                         Chapter 13                    Chapter 15 Petition for Recognition
                                                                         Other (If debtor is not one of the               Railroad                                                                                      of a Foreign Nonmain Proceeding
                                                                         above entities, check this box and               Stockbroker
                                                                         provide the information requested                Commodity Broker                                                         Nature of Debts (Check one box)
                                                                         below.)                                          Clearing Bank
                                                                         State type of entity:                            Nonprofit Organization qualified          ü Consumer/Non-Business                    Business
                                                                                                                          under 15 U.S.C. § 501(c)(3)
                                                                                                        Filing Fee (Check one box)                                                                 Chapter 11 Debtors:
                                                                                                                                                                    Check one box:
                                                                      üFull Filing Fee attached                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                         Filing Fee to be paid in installments (Applicable to individuals only). Must
                                                                                                                                                                      Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                         attach signed application for the court’s consideration certifying that the debtor
                                                                                                                                                                      -----------------------------------------------------
                                                                         is unable to pay fee except in installments. Rule 1006(b). See Official Form
                                                                                                                                                                    Check if:
                                                                         3A.
                                                                         Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must                 Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                         attach signed application for the court’s consideration. See Official Form 3B.               affiliates are less than $2 million.

                                                                      Statistical/Administrative Information                                                                                                         THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      üDebtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be
                                                                          no funds available for distribution to unsecured creditors.
                                                                      Estimated Number of Creditors
                                                                        1-           50-         100-        200-       1,000-        5,001-    10,001-      25,001-         50,001-           Over
                                                                        49           99          199         999        5,000         10,000    25,000       50,000          100,000          100,000
                                                                        ü
                                                                      Estimated Assets
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                           ü
                                                                      Estimated Debts
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                           ü
                                                                     VOLUNTARY PETITION



                                                                                                                          Case 06-61696-fra7                      Doc 1               Filed 08/29/06
                                                                     (Official Form 1) (10/05)                                                                                                                 FORM B1, Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                           Dempsey, Michael Thomas

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
                                                                      Location                                                                       Case Number:                               Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                 Case Number:                              Date Filed:
                                                                      None

                                                                      District:                                                                      Relationship:                              Judge:


                                                                                                     Exhibit A                                                                             Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                     (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                             whose debts are primarily consumer debts)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter.
                                                                                                                                                     I further certify that I delivered to the debtor the notice required by §
                                                                                                                                                     342(b) of the Bankruptcy Code.

                                                                                                                                                      X   /s/ Gregory J. Christensen                                    8/26/06
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                                                                                                                                                          Signature of Attorney for Debtor(s)                                Date


                                                                                                     Exhibit C                                                    Certification Concerning Debt Counseling
                                                                      Does the debtor own or have possession of any property that poses or is                            by Individual/Joint Debtor(s)
                                                                      alleged to pose a threat of imminent and identifiable harm to public
                                                                      health or safety?                                                               ü I/we have received approved budget and credit counseling during the
                                                                                                                                                          180-day period preceding the filing of this petition
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                                                                                                          I/we request a waiver of the requirement to obtain budget and credit
                                                                      ü No                                                                                counseling prior to filing based on exigent circumstances. (Must
                                                                                                                                                          attach certification describing.)

                                                                                                           Information Regarding the Debtor (Check the Applicable Boxes)
                                                                                                                                 Venue (Check any applicable box)

                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                      Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                     Check all applicable boxes.

                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)


                                                                                                                                    (Address of landlord or lessor)

                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                              entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                                                                              of the petition.


                                                                     VOLUNTARY PETITION



                                                                                                                Case 06-61696-fra7                   Doc 1        Filed 08/29/06
                                                                     (Official Form 1) (10/05)                                                                                                                            FORM B1, Page 3
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                         Dempsey, Michael Thomas
                                                                                                                                           Signatures
                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this     I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts     in a foreign main proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed        A certified copy of the order granting recognition is attached.
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand     (Check one box only)
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                        I request relief in accordance with chapter 15 of title 11, United
                                                                      chapter 7.
                                                                                                                                                        States Code. Certified copies of the documents required by § 1515 of
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                                                                                                        title 11 are attached.
                                                                      the petition] I have obtained and read the notice required by § 342(b) of
                                                                      the Bankruptcy Code.                                                              Pursuant to § 1511 of title 11, United States Code, I request relief in
                                                                                                                                                        accordance with the chapter of title 11 specified in this petition. A
                                                                      I request relief in accordance with the chapter of title 11, United States
                                                                                                                                                        certified copy of the order granting recognition of the foreign main
                                                                      Code, specified in this petition.
                                                                                                                                                        proceeding is attached.

                                                                      X   /s/ Michael Thomas Dempsey
                                                                          Signature of Debtor       Michael Thomas Dempsey                         X
                                                                                                                                                        Signature of Foreign Representative
                                                                      X
                                                                          Signature of Joint Debtor                                                X
                                                                                                                                                        Printed Name of Foreign Representative
                                                                          (541) 971-2908
                                                                          Telephone Number (If not represented by attorney)
                                                                                                                                                        Date
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                                                                          August 26, 2006
                                                                          Date

                                                                                                      Signature of Attorney                                       Signature of Non-Attorney Petition Preparer
                                                                                                                                                   I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Gregory J. Christensen                                               preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                      compensation and have provided the debtor with a copy of this document
                                                                          Gregory J. Christensen 77139                                             and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Printed Name of Attorney for Debtor(s)                                   110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                                                                                                   pursuant to 11 U.S.C. § 110 setting a maximum fee for services
                                                                          Gregory J. Christensen                                                   chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Firm Name
                                                                                                                                                   notice of the maximum amount before preparing any document for filing
                                                                          PO Box 2039                                                              for a debtor or accepting any fee from the debtor, as required in that
                                                                          Address                                                                  section. Official Form 19B is attached.
                                                                          Corvallis, OR 97339
                                                                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer

                                                                          (541) 757-1229
                                                                                                                                                   Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                          Telephone Number                                                         Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                   bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          August 26, 2006
                                                                          Date
                                                                                                                                                   Address

                                                                                    Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct, and that I have been authorized to file this   X
                                                                      petition on behalf of the debtor.                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                                                                                                        partner whose social security number is provided above.

                                                                      The debtor requests relief in accordance with the chapter of title 11,
                                                                                                                                                        Date
                                                                      United States Code, specified in this petition.
                                                                                                                                                   Names and Social Security numbers of all other individuals who
                                                                      X                                                                            prepared or assisted in preparing this document unless the bankruptcy
                                                                          Signature of Authorized Individual                                       petition preparer is not an individual:


                                                                          Printed Name of Authorized Individual

                                                                                                                                                   If more than one person prepared this document, attach additional
                                                                          Title of Authorized Individual                                           sheets conforming to the appropriate official form for each person.
                                                                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Date                                                                     of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                   in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.

                                                                     VOLUNTARY PETITION



                                                                                                                      Case 06-61696-fra7           Doc 1         Filed 08/29/06
                                                                                                                   United States Bankruptcy Court
                                                                                                                          District of Oregon

                                                                     IN RE:                                     Case No.
                                                                     Dempsey, Michael Thomas
                                                                                                                EXHIBIT “C”
                                                                                                                [If not an Ex. on Petition Pg. 2, then to
                                                                     Debtor(s)                                  be FULLY completed by ALL debtors
                                                                                                                and attached to ALL copies of the Petition.]
                                                                     (NOTE: You must answer ALL questions. Attach additional sheets if necessary. Use of “UNKNOWN” is NOT acceptable!)
                                                                       1. Identify and briefly describe all real or personal property owned by or in possession of the debtor that, to the best of the
                                                                          debtor’s knowledge, poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety:
                                                                           None
                                                                       2. With respect to each parcel of real property or item of personal property identified in question 1, describe the nature and
                                                                          location of the dangerous condition, whether environmental or otherwise, that poses or is alleged to pose a threat of
                                                                          imminent and identifiable harm to the public health or safety: None

                                                                       3. DESCRIBE ASSETS REQUIRING TRUSTEE'S IMMEDIATE ATTENTION: None

                                                                       4. Street address of principal assets (note property): 2018 Salem Ave. SE
                                                                                                                               Albany, OR 97321
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                                                                       5. [If debtor(s) an individual] Is debtor(s), OR has debtor(s) ever been within the 6 years prior to filing, either: self-
                                                                          employed or a sole proprietor; a partner, other than a limited partner, of a partnership; or an officer, director, managing
                                                                          executive, or person in control of a corporation?    YES üNO
                                                                          If yes, complete ALL questions in the Statement of Affairs.
                                                                       6. [Unless EXACT question already answered on Petition] If debtor is CORPORATION, list name and address of chief
                                                                          executive officer; if debtor is PARTNERSHIP, list names and addresses of general partners:

                                                                      7.   Total GROSS income of the individual debtor(s) for the last tax year: $       37,443.00 (i.e. before any deductions).
                                                                      8.   Total amount of unsecured debt: $       47,861.79.
                                                                      9.   Total Noncontingent, Liquidated Farming Operation Debt: $               0.00.
                                                                     10.   Total GROSS income from farming operation for the individual debtor(s) for last tax year: $               0.00.
                                                                     11.   The BANKRUPTCY DOCUMENT PREPARER DECLARATION below has been completed for any person who
                                                                           helped, for compensation, prepare any of the bankruptcy papers if the debtor does not have an attorney.
                                                                     I declare under penalty of perjury that the above information provided in this Exhibit “C” is true and correct.




                                                                     DATED: 8/26/2006         /s/ Michael Thomas Dempsey            (541) 971-2908
                                                                                              Debtor’s Signature                          Phone # Joint Debtor’s Signature

                                                                                                      BANKRUPTCY DOCUMENT PREPARER DECLARATION
                                                                     I, the undersigned, declare under penalty of perjury that (1) neither I, nor anyone else listed herein, collected or received any
                                                                     payment from or on behalf of the debtor for court fees in connection with filing the petition; (2) I have received $
                                                                     from or on behalf of the debtor within the previous 12 month period; (3) $                  is the unpaid fee charged to the debtor;
                                                                     and (4) the following is true and accurate about myself and any other assistants:
                                                                     Individual Name and Firm (Type or Print):
                                                                     Address (Type or Print):
                                                                     Social Security Number of all OTHER individuals who prepared or assisted in the preparation of these bankruptcy documents:


                                                                     Signature:                                                 Social Security #:                Phone#:
                                                                     [NOTE: Penalties up to $500 per item may be assessed for omission of any required information (11 USC § 110; 18 USC § 156)) and Fed.
                                                                     Bankruptcy Rule 1006 prohibits any payment to any person for services until the court filing fees are paid in full.]

                                                                     EXHIBIT C (12/01/01)

                                                                                                         Case 06-61696-fra7           Doc 1      Filed 08/29/06
                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                    District of Oregon

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Dempsey, Michael Thomas                                                                                                                                                    Chapter 7
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               1,500.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   1,500.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $      0.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                   August 26, 2006                                                  /s/ Gregory J. Christensen
                                                                                                               Date                                                                                                             Signature of Attorney

                                                                                                                                                                    Gregory J. Christensen
                                                                                                                                                                                                                                  Name of Law Firm

                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR



                                                                                                                                          Case 06-61696-fra7                                     Doc 1                Filed 08/29/06
                                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                                                                            DISTRICT OF OREGON

                                                                     In re                                                  )   Case No.                        (If Known)
                                                                     Dempsey, Michael Thomas                                )
                                                                                                                            )   INDIVIDUAL DEBTOR'S*
                                                                                                                            )   STATEMENT OF INTENTION(S)
                                                                     Debtor(s)                                              )   PER 11 U.S.C. §521(a)

                                                                     *IMPORTANT NOTICES TO DEBTOR(S):
                                                                     (1) SIGN AND FILE this form even if you show "NONE," AND, if creditors are listed, have the service certificate COMPLETED; AND
                                                                     (2) Failure to perform the intentions as to property stated below within 30 days after the first date set for the Meeting of Creditors under
                                                                     11 USC §341(a) may result in relief for the creditor from the Automatic Stay protecting such property.
                                                                                                                                                                    PROPERTY TO BE RETAINED (CHECK ANY APPLICABLE
                                                                                                                                                                                     STATEMENT)
                                                                                                                                                        PROPERTY
                                                                                                                                                         WILL BE  PROPERTY     PROPERTY     PROPERTY      LEASE TO BE
                                                                      CREDITOR/LESSOR                   DESCRIPTION OF SECURED OR LEASED PROPERTY
                                                                                                                                                      SURRENDERED IS CLAIMED    WILL BE       WILL BE    ASSUMED PER
                                                                                                                                                                  AS EXEMPT    REDEEMED     REAFFIRMED      11 USC
                                                                                                                                                                               PER 11 USC   PER 11 USC     §362(h)(1)
                                                                                                                                                                                  §722        §524(c)

                                                                      None
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                                                                     I/WE, THE UNDERSIGNED DEBTOR(S), CERTIFY THAT THE                       I/WE THE UNDERSIGNED, CERTIFY THAT COPIES OF BOTH
                                                                     ABOVE INDICATES MY/OUR INTENTION AS TO ANY                              THIS DOCUMENT AND LOCAL FORM #715 WERE SERVED ON
                                                                     PROPERTY LISTED IN MY SCHEDULES THAT IS ESTATE                          ANY CREDITOR NAMED ABOVE.
                                                                     PROPERTY SECURING A DEBT AND/OR PERSONAL
                                                                     PROPERTY SUBJECT TO AN UNEXPIRED LEASE.                                 DATE: August 26, 2006

                                                                     DATE: August 26, 2006
                                                                                                                                             /s/ Gregory J. Christensen                                       77139
                                                                                                                                             DEBTOR OR ATTORNEY’S SIGNATURE                        OSB# (if attorney)
                                                                     /s/ Michael Thomas Dempsey
                                                                     DEBTOR’S SIGNATURE

                                                                                                                                             JOINT DEBTOR’S SIGNATURE (if applicable and no attorney)

                                                                     JOINT DEBTOR’S SIGNATURE (if applicable)                                Gregory J. Christensen (541) 757-1229
                                                                                                                                             PRINT OR TYPE SIGNER’S NAME & PHONE NO.

                                                                                                                                             PO Box 2039
                                                                                                                                             SIGNER’S ADDRESS (if attorney)

                                                                                                                                             Corvallis, OR 97339


                                                                                 NON-JUDICIAL REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTIONS
                                                                     Creditors, see Local Form #715 [attached to this document] if you wish information on how to obtain NON-JUDICIAL relief from the automatic
                                                                     stay of 11 U.S.C. §362(a) as to your collateral.
                                                                                                                           QUESTIONS????
                                                                     Call an attorney with questions about these procedures or the law. However, only call the debtor's attorney if you have questions
                                                                     about the debtor's intent as to your collateral.


                                                                     521.05 (10/17/05)



                                                                                                           Case 06-61696-fra7              Doc 1      Filed 08/29/06
                                                                       PROCEDURES CREATED BY THE BANKRUPTCY COURT CONCERNING REQUESTS FOR NON-JUDICIAL RELIEF
                                                                                FROM THE AUTOMATIC STAY AS TO SECURED COLLATERAL IN CHAPTER 7 CASES

                                                                      If you are interested in expediting relief from the automatic stay of 11 U.S.C. §362(a) as to property in which you hold a security
                                                                      interest, YOU MUST FURNISH the trustee a statement of the balance due and estimated property value. ALSO ATTACH a
                                                                      copy of your security agreement and other documents required for perfection (e.g., if the security is an automobile, a copy of
                                                                      the certificate of title showing your security interest). YOU MUST ALSO ATTACH a completely filled out (except for signatures)
                                                                      copy of LBF #750.

                                                                      DO NOT FILE THE REQUEST NOR ANY COPIES THEREOF WITH THE COURT! ALSO, YOU ARE NOT REQUIRED TO
                                                                      FILE THE COMPLETED LBF #750 WITH THE COURT TO MAKE THIS RELIEF EFFECTIVE!

                                                                      Under §522(f) of the Bankruptcy Code the debtor may request a judicial lien or a non-possessory, non purchase-money security
                                                                      interest on certain exempt property be voided to the extent the exemption is impaired by the lien or security interest. Under
                                                                      §722 the debtor may request the court determine the value of certain personal property and permit the debtor to redeem the
                                                                      property from any lien against it by paying that value to the lien holder. Because of these two sections, the consent of both
                                                                      the trustee and debtor is required to permit a repossession or foreclosure without court order.

                                                                      IF YOUR REQUEST TO RECEIVE NON-JUDICIAL RELIEF FROM STAY WILL BE MADE AT THE MEETING OF
                                                                      CREDITORS (OR IS SERVED WITHIN 15 DAYS PRIOR TO SUCH MEETING and therefore will be considered at the
                                                                      meeting), it must be in writing and contain all the information required in paragraph one. Copies of all documents must be
                                                                      submitted to the debtor and any debtor's attorney prior to that meeting.

                                                                      IF YOU WISH TO RECEIVE NON-JUDICIAL RELIEF FROM STAY PRIOR TO THE MEETING OF CREDITORS, OR IF YOUR
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                                                                      REQUEST IS MADE AFTER THE MEETING OF CREDITORS, IT MUST BE IN WRITING and contain all the information
                                                                      required in paragraph one. If the request includes a signed debtor stipulation, nothing further is required and the trustee may
                                                                      immediately process the request. However if the request does not include a signed debtor stipulation, then it MUST BOTH:
                                                                      (1) certify copies of all documents were simultaneously served on (e.g., mailed to) the debtor and any debtor's attorney, AND
                                                                      (2) clearly set out the following notice:

                                                                            "By way of this letter the debtor is informed that the trustee may grant non-judicial relief from the automatic stay as
                                                                            to the property UNLESS THE TRUSTEE IS NOTIFIED IN WRITING WITHIN 15 DAYS AFTER THE SERVICE OF
                                                                            THIS REQUEST THAT THE DEBTOR OBJECTS TO SUCH RELIEF. Such relief shall constitute a termination of
                                                                            the stay provided by 11 U.S.C. §362(a) and will permit this creditor to foreclose his lien or security interest by
                                                                            repossession or as otherwise provided by law."

                                                                     Objections to non-judicial relief from the automatic stay, unless made at the meeting of creditors, must be in writing, with a copy
                                                                     simultaneously served on the debtor, requesting creditor, trustee, and their respective attorneys of record. The objection must
                                                                     be post-marked by the 15th day after the request was served, and received by the trustee within 20 days, or the trustee may grant
                                                                     the request.

                                                                     If the trustee receives a timely objection from the debtor, the trustee shall not grant non-judicial relief or consider repetitive requests
                                                                     by the same creditor unless the debtor withdraws such objection in writing.

                                                                     The trustee will grant non-judicial relief from the automatic stay if the above requirements are met, the debtor either does not timely
                                                                     object or stipulates in writing to such relief, and there appears to be no equity in the property for the benefit of creditors.

                                                                     Signing of LBF #750 by the trustee, granting non-judicial relief, shall constitute a termination of the stay of an act against such
                                                                     property under 11 U.S.C. §362(a). The trustee, however, shall not be deemed to have abandoned his/her interest in the property,
                                                                     nor have waived any other rights as to the property. Any non-exempt equity in the property remaining after disposition shall be
                                                                     immediately returned to the trustee.

                                                                     If either the trustee or debtor(s) will not agree to such relief for any reason, you must file a motion for relief from stay under §362(d).
                                                                     Instructions and forms may be obtained from the Clerk's office.

                                                                     IMPORTANT. All requests to the trustee MUST be accompanied by a self-addressed and stamped envelope, or the trustee need
                                                                     not respond.


                                                                                                                       ***SEE REVERSE/ATTACHED***
                                                                     715 (11/10/03)




                                                                                                            Case 06-61696-fra7            Doc 1      Filed 08/29/06
                                                                                                                                 United States Bankruptcy Court
                                                                                                                                        District of Oregon

                                                                     IN RE:                                                                                                               Case No.
                                                                     Dempsey, Michael Thomas                                                                                              Chapter 7
                                                                                                                         Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor's liabilities. Individual debtors must also complete the “Statistical Summary of Certain Liabilities.”

                                                                                                                                                                                            AMOUNTS SCHEDULED

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)           SHEETS                 ASSETS                 LIABILITIES                 OTHER


                                                                      A - Real Property                                              Yes                      1       $                0.00



                                                                      B - Personal Property                                          Yes                      2       $         48,834.44



                                                                      C - Property Claimed as Exempt                                 Yes                      1
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                                                                      D - Creditors Holding Secured Claims                           Yes                      1                                $                0.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                     Yes                      2                                $                0.00
                                                                          Claims

                                                                      F - Creditors Holding Unsecured
                                                                                                                                     Yes                      3                                $         47,861.79
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                     Yes                      1
                                                                          Leases


                                                                      H - Codebtors                                                  Yes                      1


                                                                      I - Current Income of Individual
                                                                                                                                     Yes                      1                                                         $           2,462.42
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                     Yes                      1                                                         $           2,453.68
                                                                          Debtor(s)


                                                                                                                                     TOTAL                   14       $         48,834.44 $              47,861.79




                                                                     SUMMARY OF SCHEDULES



                                                                                                                    Case 06-61696-fra7                    Doc 1           Filed 08/29/06
                                                                                                                                United States Bankruptcy Court
                                                                                                                                       District of Oregon

                                                                     IN RE:                                                                                        Case No.
                                                                     Dempsey, Michael Thomas                                                                       Chapter 7
                                                                                                                        Debtor(s)

                                                                                                STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                                                                                                 [Individual Debtors Only]
                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                      Type of Liability                                                                                                Amount

                                                                      Domestic Support Obligations (from Schedule E)

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)

                                                                      Claims for Death or Personal Injury While Debtor was Intoxicated (from Schedule E)

                                                                      Student Loan Obligations (from Schedule F)

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)
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                                                                                                                                                                               TOTAL     0.00




                                                                     STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)



                                                                                                                   Case 06-61696-fra7          Doc 1    Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                           Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant , community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint or “C” for Community in the column labeled
                                                                     “HWJC.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                   CURRENT VALUE OF
                                                                                                                                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S        W     PROPERTY WITHOUT         AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J       DEDUCTING ANY               CLAIM
                                                                                                                                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                       EXEMPTION

                                                                     None
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                                                                                                                                                                                     TOTAL                         0.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY



                                                                                                                     Case 06-61696-fra7                     Doc 1         Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                          Case No.
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint,
                                                                     or “C” for Community in the column labeled “HWJC.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule
                                                                     C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” In providing the
                                                                     information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                       N                                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                              W     PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                              J       DEDUCTING ANY
                                                                                                                       E                                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION

                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            Washington Mutual                                                                                             400.00
                                                                           accounts, certificates of deposit, or           Checking 1851505546
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
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                                                                        3. Security deposits with public utilities,        Security Deposit with landlord                                                                                300.00
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household goods and furnishings                                                                            2,000.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothes                                                                                                       300.00
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,              Musical Equipment                                                                                          1,000.00
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(3). 11
                                                                          U.S.C. § 521(c); Rule 1007(b)).
                                                                      12. Interests in IRA, ERISA, Keogh, or               401K                                                                                                      20,934.86
                                                                          other pension or profit sharing plans.           Retirement                                                                                                21,231.58
                                                                          Itemize.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and           X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                         X



                                                                     SCHEDULE B - PERSONAL PROPERTY



                                                                                                                      Case 06-61696-fra7                   Doc 1          Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                Case No.
                                                                                                                             Debtor(s)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)

                                                                                                                                                                                                             CURRENT VALUE OF
                                                                                                                      N                                                                                H    DEBTOR'S INTEREST IN
                                                                                                                      O                                                                                W     PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                J       DEDUCTING ANY
                                                                                                                      E                                                                                C     SECURED CLAIM OR
                                                                                                                                                                                                                 EXEMPTION

                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owing debtor        X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
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                                                                      21. Other contingent and unliquidated               2005 Tax refund                                                                              1,393.00
                                                                          claims of every nature, including tax           Amount shown is debtor's 1/2 share)
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) in customer lists or similar
                                                                          compilations provided to the debtor
                                                                          by individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and              1987 Dodge D-50                                                                              1,275.00
                                                                          other vehicles and accessories.                 (200,000 miles - Value from Kelly Blue Book
                                                                                                                          Private Party in good condition)
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                      33. Farming equipment and implements.          X
                                                                      34. Farm supplies, chemicals, and feed.        X
                                                                      35. Other personal property of any kind        X
                                                                          not already listed. Itemize.



                                                                                                                                                                                                TOTAL                48,834.44
                                                                                                                                                                            (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                           Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY



                                                                                                                     Case 06-61696-fra7           Doc 1        Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                    Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $125,000.
                                                                     (Check one box)

                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Washington Mutual                                            ORS 18.345(1)(o)                                                      400.00                   400.00
                                                                     Checking 1851505546
                                                                     Security Deposit with landlord                               ORS 18.395                                                            300.00                   300.00
                                                                     Household goods and furnishings                              ORS 18.345(1)(f)                                                    2,000.00               2,000.00
                                                                     Clothes                                                      ORS 18.345(1)(b)                                                      300.00                   300.00
                                                                     Musical Equipment                                            ORS 18.362                                                            900.00               1,000.00
                                                                     401K                                                         ORS 18.358                                                        20,934.86               20,934.86
                                                                     Retirement                                                   ORS 18.358                                                        21,231.58               21,231.58
                                                                     1987 Dodge D-50                                              ORS 18.345(1)(d)                                                    1,275.00               1,275.00
                                                                     (200,000 miles - Value from Kelly Blue
                                                                     Book
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                                                                     Private Party in good condition)




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT



                                                                                                                    Case 06-61696-fra7                  Doc 1        Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                            Case No.
                                                                                                                                 Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.

                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child.” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                     üCheck this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N          AMOUNT OF CLAIM
                                                                                                                                     C                                                                         O    L   D     WITHOUT DEDUCTING
                                                                                                                                     O                                                                         N    I   I    VALUE OF COLLATERAL
                                                                                                                                     D    H                                                                    T    Q   S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS                                            DATE CLAIM WAS INCURRED,
                                                                                                                                     E    W                                                                    I    U   P
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                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                NATURE OF LIEN, AND DESCRIPTION AND VALUE OF
                                                                                                                                     B    J                                                                    N    I   U
                                                                                         (See instructions above.)                                            PROPERTY SUBJECT TO LIEN
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E    UNSECURED PORTION, IF
                                                                                                                                     R                                                                         N    T   D           ANY
                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No.




                                                                                                                                              Value $

                                                                     Account No.




                                                                                                                                              Value $

                                                                     Account No.




                                                                                                                                              Value $

                                                                     Account No.




                                                                                                                                              Value $
                                                                                                                                                                                                                Subtotal
                                                                               0 continuation sheets attached                                                                                       (Total of this page)

                                                                                                                                                 (Use only on last page of the completed Schedule D) TOTAL
                                                                                                                                                                                                       (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS



                                                                                                                      Case 06-61696-fra7                     Doc 1          Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                             Case No.
                                                                                                                                 Debtor(s)

                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).

                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable on
                                                                     each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.” If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim
                                                                     is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X”
                                                                     in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Total” on the last sheet of the completed schedule. If applicable, also report this total on the Means Test form.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Domestic Support Obligations
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                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                     ü Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.



                                                                               1 continuation sheets attached




                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS



                                                                                                                      Case 06-61696-fra7                      Doc 1          Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                              Case No.
                                                                                                                       Debtor(s)

                                                                                           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                (Continuation Sheet)



                                                                                                       Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                         (Type of Priority)

                                                                                                                                                                                                U
                                                                                                                                                                                            C   N
                                                                                                                           C                                                                O   L    D      TOTAL AMOUNT
                                                                                                                           O                                                                N   I    I        OF CLAIM
                                                                                                                           D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                           E    W                   DATE CLAIM WAS INCURRED                 I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER
                                                                                                                           B    J                 AND CONSIDERATION FOR CLAIM               N   I    U
                                                                                          (See instructions.)
                                                                                                                           T    C                                                           G   D    T
                                                                                                                           O                                                                E   A    E     AMOUNT ENTITLED
                                                                                                                           R                                                                N   T    D       TO PRIORITY
                                                                                                                                                                                            T   E
                                                                                                                                                                                                D

                                                                     Account No.                                                    Notice Only
                                                                     Internal Revenue Service
                                                                     Centralized Insolvency Operation                                                                                                                    0.00
                                                                     PO Box 21126
                                                                     Philadelphia, PA 19114
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                                                                     Account No.                                                    Notice only
                                                                     Oregon Dept. Of Revenue
                                                                     Bankruptcy Unit                                                                                                                                     0.00
                                                                     PO Box 14725
                                                                     Salem, OR 97309-5018


                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                                                                                                                                               Subtotal
                                                                     Sheet no.     1     of      1    sheets attached to Schedule of Creditors                                     (Total of this page)
                                                                     Holding Priority Claims
                                                                                                                                      (Use only on last page of the completed Schedule E) TOTAL
                                                                                                                                                                                     (Report total also on Summary of Schedules)



                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS



                                                                                                              Case 06-61696-fra7                 Doc 1        Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                            Case No.
                                                                                                                                 Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community maybe liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.

                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N
                                                                                                                                     C                                                                         O    L   D
                                                                                                                                     O                                                                         N    I   I
                                                                                                                                     D    H                                                                    T    Q   S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                     E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.            I    U   P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                           AMOUNT OF CLAIM
                                                                                                                                     B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                N    I   U
                                                                                         (See instructions above.)
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E
                                                                                                                                     R                                                                         N    T   D
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                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No.                                                              Medical
                                                                     Anthony J. Saboe
                                                                     915 19th Ave. SE
                                                                     Albany, OR 97322

                                                                                                                                                                                                                                            226.48
                                                                     Account No.                                                              1st 401K loan paid off May 16, 2008
                                                                     Boise Cascade
                                                                     HR Services
                                                                     PO Box 50
                                                                     Boise, ID 83728-0001
                                                                                                                                                                                                                                            785.79
                                                                     Account No.                                                              2nd 401K loan paid off 7/19/2010
                                                                     Boise Cascade
                                                                     HR Services
                                                                     PO Box 50
                                                                     Boise, ID 83728-0001
                                                                                                                                                                                                                                         4,594.06
                                                                     Account No. 4003-4425-8381-5538                                 X        Credit Card
                                                                     Capital One Bank
                                                                     PO Box 60067
                                                                     City Of Industry, CA 91716

                                                                                                                                                                                                                                        34,348.38
                                                                     Account No. 65549                                                        Utility
                                                                     City Of Albany
                                                                     PO Box 490
                                                                     Albany, OR 97321

                                                                                                                                                                                                                                             52.88
                                                                                                                                                                                                                Subtotal
                                                                               2 continuation sheets attached                                                                                       (Total of this page)                40,007.59

                                                                                                                                                 (Use only on last page of the completed Schedule F) TOTAL
                                                                                                                                                                                                       (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS



                                                                                                                      Case 06-61696-fra7                     Doc 1          Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                          Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)
                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                          C                                                                O   L    D
                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                                   Ex-wife - Notice Only
                                                                     Deborah Dempsey
                                                                     2045 Cedar Court SE
                                                                     Albany, OR 97322

                                                                                                                                                                                                                        0.00
                                                                     Account No.                                                   Collecting for Qwest
                                                                                                                                   (Duplicate)
                                                                     ER Solutions
                                                                     PO Box 6030
                                                                     Hauppauge, NY 11788-0154
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                                                                                                                                                                                                                        0.00
                                                                     Account No.                                                   Personal Loan from Mother
                                                                     Faye Dempsey
                                                                     PO Box 2259
                                                                     Redmond, OR 97756

                                                                                                                                                                                                                   5,000.00
                                                                     Account No.                                                   Medical
                                                                     Henry H. Holmes MD
                                                                     3600 NW Samaritan Dr. Rm 3010
                                                                     Corvallis, OR 97330

                                                                                                                                                                                                                     152.25
                                                                     Account No.                                                   Medical
                                                                     Kevin D. Ewanchyna MD
                                                                     3517 NW Samaraitan Dr.
                                                                     Corvallis, OR 97330

                                                                                                                                                                                                                       27.90
                                                                     Account No.                                                   Medical
                                                                     Laverne A. Saboe
                                                                     915 19th Ave. SE
                                                                     Albany, OR 97321

                                                                                                                                                                                                                       41.92
                                                                     Account No.                                                   Collecting for Capital One
                                                                                                                                   (Duplicate)
                                                                     NCO Financial Systems, Inc.
                                                                     PO Box 8180
                                                                     Philadelphia, PA 19101-8180

                                                                                                                                                                                                                        0.00
                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         1 of       2 sheets attached to Schedule of                                               (Total of this page)              5,222.07
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS



                                                                                                              Case 06-61696-fra7               Doc 1        Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                          Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)
                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                          C                                                                O   L    D
                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                                   Voluntary surrender of vehicle
                                                                                                                                   1998 Plymouth Voyager
                                                                     Oregon Community Credit Union
                                                                     PO Box 77002
                                                                     Eugene, OR 97401

                                                                                                                                                                                                                   1,895.00
                                                                     Account No.                                                   Utility
                                                                     Qwest
                                                                     PO Box 91073
                                                                     Seattle, WA 98111-9173
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                                                                                                                                                                                                                     211.34
                                                                     Account No. ST2061240696VC                                    Medical
                                                                     Samaritan Medical Clinic
                                                                     PO Box 369
                                                                     Corvallis, OR 97339

                                                                                                                                                                                                                       84.79
                                                                     Account No.                                                   Medical
                                                                     Serenity Lane
                                                                     616 East 16th Ave.
                                                                     Eugene, OR 97401

                                                                                                                                                                                                                     441.00
                                                                     Account No.                                                   Collecting for Oregon Commuity Credit
                                                                                                                                   Union
                                                                     Valley Credit Service
                                                                                                                                   (Duplicate)
                                                                     960 Broadway NE Suite 4
                                                                     Salem, OR 97301

                                                                                                                                                                                                                        0.00
                                                                     Account No.




                                                                     Account No.




                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         2 of       2 sheets attached to Schedule of                                               (Total of this page)              2,632.13
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL                   47,861.79
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS



                                                                                                              Case 06-61696-fra7               Doc 1        Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                               Case No.
                                                                                                                                  Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in contract,
                                                                     i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
                                                                     contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C.
                                                                     § 112; Fed.R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                           STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                             STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES



                                                                                                                       Case 06-61696-fra7                      Doc 1          Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                         Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR


                                                                     Deborah Dempsey                                                                        Capital One Bank
                                                                     2045 Cedar Court SE                                                                    PO Box 60067
                                                                     Albany, OR 97322                                                                       City Of Industry, CA 91716
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                                                                     SCHEDULE H - CODEBTORS



                                                                                                                    Case 06-61696-fra7                     Doc 1         Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                         Case No.
                                                                                                                               Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Divorced                                    RELATIONSHIP                                                                                          AGE
                                                                                                                  Son                                                                                                   7




                                                                      EMPLOYMENT:                                             DEBTOR                                                                   SPOUSE
                                                                      Occupation                Roll Grab Driver
                                                                      Name of Employer          Boise Cascade
                                                                      How long employed         6.5 Yrs
                                                                      Address of Employer       Albany, OR



                                                                     INCOME: (Estimate of average monthly income)                                                                                         DEBTOR                     SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)                                   $            3,425.28 $
                                                                     2. Estimated monthly overtime                                                                                            $                         $
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                                                                     3. SUBTOTAL                                                                                                              $            3,425.28 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $               786.50    $
                                                                       b. Insurance                                                                                                           $               126.00    $
                                                                       c. Union dues                                                                                                          $                36.86    $
                                                                       d. Other (specify) Dental Insurance                                                                                    $                13.50    $
                                                                                                                                                                                              $                         $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $               962.86 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $            2,462.42 $


                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                         $
                                                                     8. Income from real property                                                                                             $                         $
                                                                     9. Interest and dividends                                                                                                $                         $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                         $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                         $
                                                                                                                                                                                              $                         $
                                                                     12. Pension or retirement income                                                                                         $                         $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                         $
                                                                                                                                                                                              $                         $
                                                                                                                                                                                              $                         $

                                                                     14. SUBTOTAL OF INCOME REPORTED ON LINES 7 THROUGH 13                                                                    $                         $
                                                                     15. TOTAL MONTHLY INCOME (Add amounts shown on Lines 6 through 14.)                                                      $            2,462.42 $


                                                                     16. TOTAL COMBINED MONTHLY INCOME $                                           2,462.42          (Report also on Summary of Schedules)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)



                                                                                                                    Case 06-61696-fra7                    Doc 1          Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                                      Case No.
                                                                                                                              Debtor(s)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                          $               625.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                            $               150.00
                                                                         b. Water and sewer                                                                                                                         $
                                                                         c. Telephone                                                                                                                               $                80.00
                                                                         d. Other                                                                                                                                   $
                                                                                                                                                                                                                    $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                       $
                                                                     4. Food                                                                                                                                        $               500.00
                                                                     5. Clothing                                                                                                                                    $               100.00
                                                                     6. Laundry and dry cleaning                                                                                                                    $                25.00
                                                                     7. Medical and dental expenses                                                                                                                 $                50.00
                                                                     8. Transportation (not including car payments)                                                                                                 $               379.00
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                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            $               100.00
                                                                     10. Charitable contributions                                                                                                                   $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                 $                25.00
                                                                         b. Life                                                                                                                                    $
                                                                         c. Health                                                                                                                                  $
                                                                         d. Auto                                                                                                                                    $                44.00
                                                                         e. Other                                                                                                                                   $
                                                                                                                                                                                                                    $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                  $
                                                                                                                                                                                                                    $
                                                                     13. Installment payments (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                    $
                                                                         b. Other 401K Loan Repayment #1                                                                                                            $                37.26
                                                                         c. Other 401K Loan Repayment #2                                                                                                            $               109.42
                                                                     14. Alimony, maintenance, and support paid to others                                                                                           $               154.00
                                                                     15. Payments for support of additional dependents not living at your home                                                                      $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                               $
                                                                     17. Other School Activities & Programs                                                                                                         $                50.00
                                                                                   School Supplies                                                                                                                  $                25.00
                                                                                                                                                                                                                    $

                                                                     18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                               $             2,453.68


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of
                                                                     this document:
                                                                     Please note:
                                                                     The debtor is recently divorced and has joint custody of his 7 yr. old son. The debtor's son lives with him every other week
                                                                     and weekends. Holidays are alternating.



                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Total monthly income from Line 16 of Schedule I                                                                                         $             2,462.42
                                                                         b. Total monthly expenses from Line 18 above                                                                                               $             2,453.68
                                                                         c. Monthly net income (a. minus b.)                                                                                                        $                 8.74


                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)



                                                                                                                   Case 06-61696-fra7                   Doc 1         Filed 08/29/06
                                                                     IN RE Dempsey, Michael Thomas                                                                               Case No.
                                                                                                                                       Debtor(s)

                                                                                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                            15 sheets, and that
                                                                                                                                                                                           (Total shown on summary page plus 1)
                                                                     they are true and correct to the best of my knowledge, information, and belief.


                                                                     Date: August 26, 2006                                    Signature: /s/ Michael Thomas Dempsey
                                                                                                                                              Michael Thomas Dempsey                                                                           Debtor


                                                                     Date:                                                    Signature:
                                                                                                                                                                                                                                 (Joint Debtor, if any)
                                                                                                                                                                                       [If joint case, both spouses must sign.]


                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                   Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                  Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:



                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                       (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of                  sheets, and that they are true and correct to the best of my knowledge, information, and belief.
                                                                                                (Total shown on summary page plus 1)




                                                                     Date:                                                    Signature:


                                                                                                                                                                                         (Print or type name of individual signing on behalf of debtor)


                                                                                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                       Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES



                                                                                                                        Case 06-61696-fra7               Doc 1    Filed 08/29/06
                                                                                                                             United States Bankruptcy Court
                                                                                                                                    District of Oregon

                                                                     IN RE:                                                                                                       Case No.
                                                                     Dempsey, Michael Thomas                                                                                      Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                     stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
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                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 38,218.00 2004 Boise Cascade
                                                                                 36,009.00 2005 Boise Cascade
                                                                                 22,468.48 2006 Boise Cascade yr to date

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                      ü      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None
                                                                             a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
                                                                             of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)




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                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,000.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                               DISPOSITION
                                                                     Dempsey v. Dempsey                         Dissolution                               Linn County, OR                            Decree Entered
                                                                     Case No: 05-2434
                                                                     Valley Credit Services                     Small Claims                              Linn County, OR                            Awaiting Answer
                                                                     vs. Micheal & Debbie Dempsey
                                                                     Case No: S061379
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                                                                      DATE OF REPOSSESSION,
                                                                                                                                      FORECLOSURE SALE,                   DESCRIPTION AND VALUE
                                                                     NAME AND ADDRESS OF CREDITOR OR SELLER                           TRANSFER OR RETURN                  OF PROPERTY
                                                                     Oregon Community Credit Union                                    2/06                                1996 Plymouth Voyager
                                                                                                                                                                          $3,855

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.




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                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Gregory J. Christensen                                            8/22/06                                                              1,500.00
                                                                     Attorney At Law
                                                                     804 SW Fourth
                                                                     Corvallis, OR 97333
                                                                     Consumer Credit Counseling                                        8/17/06                                                                                 50.00
                                                                     214 NW Hickory St.
                                                                     Albany, OR 97321

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                     NAME AND ADDRESS OF TRANSFEREE,                                                                                  DESCRIBE PROPERTY TRANSFERRED
                                                                     RELATIONSHIP TO DEBTOR                                            DATE                                           AND VALUE RECEIVED
                                                                     Private Party                                                     May 2006                                       2309 SE Moraga Ave.
                                                                                                                                                                                      Albany, OR 97322
                                                                                                                                                                                      Net to debtor $526.96

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
                                                                      ü      similar device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
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                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.




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                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
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                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: August 26, 2006                            Signature /s/ Michael Thomas Dempsey
                                                                                                                      of Debtor                                                                    Michael Thomas Dempsey

                                                                     Date:                                            Signature
                                                                                                                      of Joint Debtor
                                                                                                                      (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.




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